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                                   United States District Court
                                    Western District Of Texas
                                         Austin Division



 Marie Pfau,

      Plaintiff,

 v.                                                           No. 1:18-cv-0422-RP

 Janet Yellen, Secretary of the Treasury, in
 her Official Capacity,

      Defendant.


                           Defendant’s Amended Notice to the Court

TO THE HONORABLE ROBERT PITMAN, UNITED STATES DISTRICT JUDGE:

       NOW COMES Defendant Janet Yellen, Secretary of the Treasury, in her Official

Capacity, by and through the U.S. Attorney for the Western District of Texas, and submits this

Amended Notice to the Court, containing amended materials required by Local Rule CV-16(e)

and as ordered by this Court (DE 39).


 Rule 16(e)(1) A list of questions the parties desires the court to    Exhibit No. 1
 ask prospective jurors.
 Rule 16(e)(2) In cases to be tried to a jury, a statement of the      Exhibit No. 2
 party’s claims or defenses to be used by the court in conducting
 voir dire. The statement shall be no longer than ½ page with type
 double-spaced.
 Rule 16(e)(3) A list of stipulated facts                              Not Applicable

 Rule 16(e)(4) An appropriate identification of each exhibit as        Exhibit No. 3
 specified in this rule (except those to be used for impeachment
 only), separately identifying those that the party expects to offer
 and those that the party may offer if the need arises.
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Rule 16(e)(5) The name and, if not previously provided, the         Exhibit No. 4
address and telephone number of each witness (except those to be
used for impeachment only), separately identifying those whom
the party expects to present and those whom the party may call if
the need arises.
Rule 16(e)(6) The name of those witnesses whose testimony is        Not Applicable
expected to be presented by means of a deposition and designation
by reference to page and line of the testimony to be offered (
except those to be used for impeachment only) and, if not taken
stenographically, a transcript of the pertinent portions of the
deposition testimony.
Rule 16(e)(7) Proposed jury instruction and verdict forms.          Exhibit No. 5

Rule 16(e)(8) In nonjury trials, Proposed Findings of Fact and      Not Applicable
Conclusions of Law
Rule 16(e)(9) Any motions in limine.                                Not Applicable

Rule 16(e)(10) An estimate of the probable length of trial          3 Days




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Dated: May 20, 2021                 Respectfully submitted,

                                    Ashley C. Hoff
                                    United States Attorney

                              By:   /s/ Kartik Venguswamy
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                                    ATTORNEYS FOR DEFENDANT
                                    JANET YELLEN




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                                CERTIFICATE OF SERVICE

       I certify that on May 20, 2021, I electronically filed the foregoing with the Clerk of Court

using the CM/ECF system, which will send notification to all counsel of record in this case.




                                              /s/ Kartik Venguswamy                .
                                             KARTIK N. VENGUSWAMY
                                             Assistant United States Attorney




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